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     8 Attorneys for Plaintiff

     9 [Additional Counsel on Signature Page]

    10                        UNITED STATES DISTRICT COURT
    11                       CENTRAL DISTRICT OF CALIFORNIA
    12                                    SOUTHERN DIVISION
    13 CHAILE STEINBERG, Derivatively            )   Case No. 8:13-cv-01797 GHK (PJWx)
       on Behalf of CORINTHIAN                   )
    14 COLLEGES, INC.,                           )
                                                 )   STIPULATION TO CONTINUE STAY
    15                       Plaintiff,          )   OF ACTION
                v.                               )
    16                                           )
         JACK D. MASSIMINO, KENNETH              )   Judge: Honorable George H. King
    17 S. ORD, ROBERT D. BOSIC, BETH             )
         A. WILSON, PAUL R. ST. PIERRE,          )   Action Filed: November 14, 2013
    18 TERRY O. HARTSHORN, HANK                  )
         ADLER, ROBERT LEE, ALICE T.             )
    19 KANE, JOHN M. DIONISIO,                   )
         LINDA AREY SKLADANY,                    )
    20 TIMOTHY J. SULLIVAN,                      )
         SHARON P. ROBINSON, and                 )
    21 MARC H. MORIAL,                           )
                                                 )
    22                       Defendants,         )
                -and-                            )
    23                                           )
         CORINTHIAN COLLEGES, INC., a            )
    24 Delaware corporation,                     )
                                                 )
    25                  Nominal Defendant.       )
                                                 )
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     1          The undersigned counsel for plaintiff Chaile Steinberg ("Plaintiff") and
     2 defendants Jack D. Massimino, Kenneth S. Ord, Robert D. Bosic, Beth A. Wilson,

     3 Paul R. St. Pierre, Terry O. Hartshorn, Hank Adler, Robert Lee, Alice T. Kane,

     4 John M. Dionisio, Linda Arey Skladany, Timothy J. Sullivan, Sharon P. Robinson,

     5 and Marc H. Morial ("Individual Defendants") (Plaintiff and Individual Defendants

     6 are collectively referred to as "Parties"), hereby stipulate and agree as follows:

     7          WHEREAS, on November 14, 2013, Plaintiff commenced this action in this
     8 Court;

     9          WHEREAS, on March 31, 2014, the Court entered an order on the joint
    10 stipulation filed by the Parties staying the action pending the resolution of the

    11 motion to dismiss in the related securities class action captioned Erickson v.

    12 Corinthian Colleges, Inc., et al., No. 2:13-cv-07466 GHK (PJWx) ("Stay Order")

    13 (Dkt. 43);

    14          WHEREAS, pursuant to the Stay Order, the Parties shall meet and confer
    15 and submit for the Court's approval a proposed schedule for further proceedings

    16 within twenty-one days of an order denying (in whole or in part) or granting with

    17 prejudice the motion to dismiss in Erickson;

    18          WHEREAS, on April 22, 2015, the Court issued an order denying the
    19 motion to dismiss in Erickson;

    20          WHEREAS, on May 4, 2015, Corinthian Colleges, Inc. ("Corinthian" or the
    21 "Company") filed a voluntary petition under Chapter 11 of Title 11 of the United

    22 States Code (the "Bankruptcy Code") and remains as Debtor in possession;

    23          WHEREAS, it is Defendants' understanding that, in light of the bankruptcy
    24 filing, this action is automatically stayed as it relates to the Company under the

    25 Bankruptcy Code. 11 U.S.C. §362(a)(1);

    26          WHEREAS, the Parties agree that, in the unique circumstances of this case,
    27 the interests of judicial and party economy would best be served by agreeing to

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     1 vacate all pending deadlines and stay all proceedings in this action for ninety (90)

     2 days, or until any Party successfully moves the Court to lift the stay, or upon the

     3 effective date of a confirmed reorganization plan, whichever occurs first, at which

     4 point the Parties shall meet and confer regarding a revised proposed schedule or

     5 other appropriate disposition of this matter; and

     6        WHEREAS, by entering into this stipulation, the Parties do not waive any of
     7 their rights not specifically addressed herein.

     8        NOW, THEREFORE, it is hereby stipulated by and between the
     9 undersigned Parties, through their respective counsel of record, that:

    10        1.     All pending dates and deadlines are vacated and all proceedings in
    11 this action are stayed for ninety (90) days, or until any Party successfully moves

    12 the Court to lift the stay, or upon the effective date of a confirmed reorganization

    13 plan, whichever occurs first; and

    14        2.     Within twenty (20) days of the lifting of this stay, the Parties shall
    15 meet and confer and present to the Court with their joint or respective views

    16 regarding a revised proposed schedule or other appropriate disposition of this

    17 matter.

    18 Dated: May 13, 2015                         ROBBINS ARROYO LLP
                                                   BRIAN J. ROBBINS
    19                                             CRAIG W. SMITH
                                                   SHANE P. SANDERS
    20                                             JENNY L. DIXON
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    28                                             PETER G. SAFIRSTEIN
                                                   ROGER A. SACHAR, Jr.
                                            -2-
                          STIPULATION TO CONTINUE STAY OF ACTION
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                                              Attorneys for Plaintiff Chaile Steinberg
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    10
         Dated: May 13, 2015                  MUNGER, TOLLES & OLSON LLP
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                                              ROBERT L. DELL ANGELO
    12                                        JEFFREY Y. WU
                                              JOHN M. GILDERSLEEVE
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    14                                                s/John M. Gildersleeve
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                                              Attorneys for Defendants Jack D.
    21                                        Massimino, Kenneth S. Ord, Robert D.
                                              Bosic, Beth A. Wilson, Paul R. St.
    22                                        Pierre, Terry O. Hartshorn, Hank Adler,
                                              Robert Lee, Alice T. Kane, John M.
    23                                        Dionisio, Linda Arey Skladany, Timothy
                                              J. Sullivan, Sharon P. Robinson, and
    24                                        Marc H. Morial
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     1 DATED: May 13, 2015                          O'MELVENY & MYERS LLP
                                                    MICHAEL YODER
     2

     3                                                        s/Michael Yoder
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    11                                              sfolchi@omm.com
    12                                              Attorneys for Nominal Defendant
                                                    Corinthian Colleges, Inc.
    13

    14

    15 Pursuant to L.R. 5-4.3.4, I, Jenny L. Dixon, attest that the above signatories have

    16 authorized this filing and concur in its content.

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     1                               CERTIFICATE OF SERVICE
     2             I, undersign, certify and declare that I am over the age of 18 years, employed
     3 in the County of San Diego, State of California and not a party of this action. My

     4 business address is 600 B Street, Suite 1900, San Diego, California 92101.

     5             I hereby certify that on May 13, 2015, I electronically filed the foregoing
     6 document with the Clerk of Court using the CM/ECF system which will send

     7 notification of such filing to the e-mail addresses denoted on the Electronic Mail

     8 Notice List.

     9             I declare under penalty of perjury under the laws of the United States of
    10 American that the foregoing is true and correct. Executed on May 13, 2015, San

    11 Diego, California.

    12

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                                                                   s/Jenny L. Dixon
                                                                  JENNY L. DIXON
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